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                                                      U.S. Department of Justice

                                                      Nathaniel R. Mendell
                                                      Acting United States Attorney
                                                      District of Massachusetts


Main Reception: (617) 748-3100                        John Joseph Moakley United States Courthouse
                                                      1 Courthouse Way
                                                      Suite 9200
                                                      Boston, Massachusetts 02210

                                                      November 4, 2021

Nina Marino, Esq.
Jennifer Lieser, Esq.
Kaplan Marino
1546 N. Fairfax Ave.
Los Angeles, CA 90046

        Re:    United States v. Donna Heinel
               Criminal No. 19-10081-IT

Dear Ms. Marino and Ms. Lieser:

        The United States Attorney for the District of Massachusetts ("the U.S. Attorney") and your
client, Donna Heinel ("Defendant"), agree as follows, pursuant to Federal Rule of Criminal
Procedure 1 l(c)(l)(B):

        1.     Change of Plea

       At the earliest practicable date, Defendant will plead guilty to Count 11 of the Second
Superseding Indictment insofar as it charges honest services wire fraud, in violation of Title 18,
United States Codes, Sections 1343 and 1346. Defendant expressly and unequivocally admits that
she committed that crime, did so knowingly and intentionally, and is in fact guilty of that offense.
The U.S. Attorney agrees to dismiss Counts 2, 3, 10, 12, 13, 14, 15, and 18 of the Second
Superseding Indictment following the imposition of sentence at the sentencing hearing.

        The U.S. Attorney agrees that, based upon the information known to the U.S. Attorney's
Office at this time, no further criminal charges will be brought against the Defendant in connection
with the conduct set forth in the Second Superseding Indictment.
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         2.     Penalties

          Defendant faces the following maximum penalties on Count 11 of the Second Superseding
 Indictment: incarceration for 20 years; supervised release for three years; a fine of $250,000, or
 twice the gross gain or loss, whichever is greater; a mandatory special assessment of $100;
 restitution; and forfeiture to the extent charged in the Second Superseding Indictment.

         3.     Sentencing Guidelines

       The parties agree that the offense level under the United States Sentencing Guidelines
 ("USSG" or "Guidelines") should be calculated as follows:

                a) Defendant's base offense level is 7, because 18 U.S.C. § 1343 has a maximum
                   penalty of20 years of incarceration (USSG § 2Bl.l(a)(l));

                b) Defendant's offense level is increased by 2, because Defendant abused a
                   position of trust in a manner that significantly facilitated the commission of the
                   offense (USSG § 3B 1.3); and

                c) Defendant's offense level is decreased by 2, because Defendant has accepted
                   responsibility for Defendant's crime (USSG § 3El.1).

       The U.S. Attorney takes the position that Defendant's offense level is increased by 14
because the gain that resulted from the offense was more than $550,000 but not more than
$1,500,000 (USSG § 2Bl.l(b)(l)(H)). The U.S. Attorney therefore calculates Defendant's total
offense level as 21.

        Defendant disagrees with the U.S. Attorney's position on gain and total offense level
calculation.

        Defendant understands that the Court is not required to follow this calculation or even to
 sentence Defendant within the Guidelines and that Defendant may not withdraw Defendant's
 guilty plea if Defendant disagrees with how the Court calculates the Guidelines or with the
 sentence the Court imposes.

         Defendant also understands that the government will object to any reduction in Defendant's
 sentence based on acceptance ofresponsibility if: (a) at sentencing, Defendant (directly or through
 counsel) indicates that Defendant does not fully accept responsibility for having engaged in the
 conduct underlying each of the elements of the crime to which Defendant is pleading guilty; or (b)
 by the time of sentencing, Defendant has committed a new federal or state offense, or has in any
 way obstructed justice.




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       If, after signing this Agreement, Defendant's criminal history score or Criminal History
Catego1y is reduced, the U.S. Attorney reserves the right to seek an upward departure under the
Guidelines.

       Nothing in this Plea Agreement affects the U.S. Attorney's obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

        4.     Sentence Recommendation

        The U.S. Attorney agrees to recommend the following sentence to the Court:

               a) incarceration within the Guidelines sentencing range as calculated by the U.S.
                  Attorney in Paragraph 3;

               b) a fine within the Guidelines sentencing range as calculated by the U.S. Attorney
                  in Paragraph 3, unless the Court finds that Defendant is not able, and is not
                  likely to become able, to pay a fine;

               c) 24 months of supervised release;

               d) a mandatory special assessment of $100, which Defendant must pay to the Clerk
                  of the Court by the date of sentencing; and

               e) forfeiture as set forth in Paragraph 6.

       Defendant reserves the right to argue for a sentence pursuant to the factors delineated in 18
U.S.C. § 3553(a).

       5.      Waiver of Appellate Rights and Challenges to Conviction or Sentence

        Defendant has the right to challenge Defendant's conviction and sentence on " direct
appeal. " This means that Defendant has the right to ask a higher court (the "appeals court") to look
at what happened in this case and, if the appeals court finds that the trial comi or the parties made
certain mistakes, overturn Defendant's conviction or sentence. Also, in some instances, Defendant
has the right to file a separate civil lawsuit claiming that serious mistakes were made in this case
and that Defendant's conviction or sentence should be overturned.

       Defendant understands that Defendant has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

               a) Defendant will not challenge Defendant' s conviction on direct appeal or in any
                  other proceeding, including in a separate civil lawsuit; and

               b) Defendant will not challenge any prison sentence of 46 months or less, or any
                  court orders related to forfeiture, restitution, fines, or supervised release. This
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                    provision is binding even if the Court's Guidelines analysis is different than the
                    one in this Agreement.

       The U.S. Attorney agrees that, regardless of how the Court calculates Defendant's
sentence, the U.S. Attorney will not appeal any sentence of imprisonment of 37 months or more.

        Defendant understands that, by agreeing to the above, Defendant is agreeing that
Defendant's conviction and sentence (to the extent set forth in subparagraph (b), above) will be
final when the Court issues a written judgment after the sentencing hearing in this case. That is,
after the Court issues a written judgment, Defendant will lose the right to appeal or otherwise
challenge Defendant's conviction and sentence (to the extent set forth in subparagraph (b), above),
regardless of whether Defendant later changes Defendant's mind or finds new information that
would have led Defendant not to agree to give up these rights in the first place.

       Defendant is agreeing to give up these rights at least partly in exchange for concessions the
U.S. Attorney is making in this Agreement.

        The parties agree that, despite giving up these rights, Defendant keeps the right to later
claim that Defendant's lawyer rendered ineffective assistance of counsel, or that the prosecutor or
a member of law enforcement involved in the case engaged in misconduct serious enough to entitle
Defendant to have Defendant' s conviction or sentence overturned.

        6.     Forfeiture

        Defendant understands that the Court will, upon acceptance of Defendant's guilty plea,
enter an order of forfeiture as part of Defendant' s sentence, and that the order of forfeiture may
include assets directly traceable to Defendant's offense, assets used to facilitate Defendant's
offense, substitute assets, and/or a money judgment equal to the value of the property derived from,
or otherwise involved in, the offense.

        The assets to be forfeited specifically include, without limitation, the following:

               a. $135,042.44 in U.S. Currency seized from Bank of America account number
                  ************* 4999, held in the name of Donna C. Heinel and another; and
               b. $160,000, to be entered in the form of an Order of Forfeiture (Money
                  Judgment).
        Reserving all rights as stated in Paragraph 3 with respect to gain from the offense and total
offense level, Defendant agrees not to contest that this asset is subject to forfeiture on the grounds
that it constitutes, or is derived from, proceeds traceable to an offense constituting specified
unlawful activity.

       Reserving all rights as stated in Paragraph 3 with respect to gain from the offense and total
offense level, Defendant also agrees not to contest that $160,000 is subject to forfeiture on the
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grounds that it constitutes, or is derived from, proceeds of specified unlawful activity. The U.S.
Attorney agrees to apply the amount realized from the final disposition of item a. towards
Defendant's forfeiture Money Judgment.

         Reserving all rights as stated in Paragraph 3 with respect to gain from the offense and total
offense level, Defendant acknowledges and agrees that the amount of the forfeiture money
judgment represents proceeds the Defendant obtained (directly or indirectly), and/or facilitating
property and/or property involved in, the crime to which Defendant is pleading guilty and that, due
at leastin part to the acts or omissions of Defendant, the proceeds or property have been transferred
to, ordeposited with, a third party, spent, cannot be located upon exercise of due diligence, placed
beyond the jurisdiction of the Court, substantially diminished in value, or commingled with other
prope1iy which cannot be divided without difficulty. Accordingly, Defendant agrees that the
United States is entitled to forfeit as "substitute assets" any other assets of Defendant up to the
value of the now missing directly forfeitable assets.

        Defendant agrees to consent to the entry of an order of forfeiture for such property and
waives the requirements of Federal Rules of Criminal Procedure 1l(b)(l)(J), 32.2, and 43(a)
regarding notice of the forfeiture in the charging instrument, advice regarding the forfeiture at the
change-of-plea hearing, announcement of the forfeiture at sentencing, and incorporation of the
forfeiture in the judgment. Defendant understands and agrees that forfeiture shall not satisfy or
affect any fine, lien, penalty, restitution, cost of imprisonment, tax liability or any other debt owed
to the United States.

        Defendant agrees to assist fully in the forfeiture of the foregoing assets. Defendant agrees
to promptly take all steps necessary to pass clear title to the forfeited assets to the United States,
including but not limited to executing any and all documents necessary to transfer such title,
assisting in bringing any assets located outside of the United States within the jurisdiction of the
United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are not sold, disbursed, wasted, hidden or otherwise made unavailable for forfeiture. Defendant
further agrees (a) not to assist any third party in asserting a claim to the forfeited assets in an
ancillary proceeding, and (b) to testify truthfully in any such proceeding.

        If the U.S. Attorney requests, Defendant shall deliver to the U.S. Attorney within 30 days
after signing this Plea Agreement a sworn financial statement disclosing all assets in which
Defendant currently has any interest and all assets over which Defendant has exercised control, or
has had any legal or beneficial interest. Defendant further agrees to be deposed with respect to
Defendant's assets at the request of the U.S. Attorney. Defendant agrees that the United States
Department of Probation may share any financial information about the Defendant with the United
States Attorney's Office.

        Defendant also agrees to waive all constitutional, legal, and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with
this Plea Agreement.

       Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal prope1iy seized by the United States, or seized by any state or local law
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enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets.
       7.      Civil Liability

        This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to Defendant's criminal conduct and guilty plea to
the charges specified in Paragraph 1 of this Agreement.

       8.      Breach of Plea Agreement

         Defendant understands that if Defendant breaches any provision of this Agreement,violates
any condition of Defendant's pre-trial release or commits any crime following Defendant's
execution of this Plea Agreement, Defendant cannot rely upon such conduct to withdraw
Defendant's guilty plea. Defendant's conduct, however, would give the U.S. Attorney the right to
be released from his commitments under this Agreement, to pursue any charges that were, or are
to be, dismissed under this Agreement, and to use against Defendant any ofDefendant' s statements,
and any information or materials Defendant provided to the government during investigation or
prosecution of Defendant's case-even if the parties had entered any earlier written or oral
agreements or understandings about this issue.

        Defendant also understands that if Defendant breaches any provision of this Agreement or
engages in any of the aforementioned conduct, Defendant thereby waives any defenses based on
the statute of limitations, constitutional protections against pre-indictment delay, and the Speedy
Trial Act, that Defendant otherwise may have had to any charges based on conduct occurring
before the date of this Agreement.

       9.      Who is Bound by Plea Agreement

         This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.




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       10.     Modifications to Plea Agreement

       This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.

                                        *          *      *

        If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign below
as Witness. Return the original of this letter to Assistant U.S. Attorneys Leslie Wright and Kriss
Basil.

                                                       Sincerely,

                                                       NATHANIEL R. MENDELL




                                             By:
                                                       ~
                                                       Chief
                                                       Securities, Financial & Cyber Fraud Unit
                                                       Seth B. Kosto
                                                       Deputy Chief
                                                       Securities, Financial & Cyber Fraud Unit




                                                       Leslie Wright
                                                       Kriss Basil
                                                       Assistant U.S. Attorneys




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                          ACKNOWLEDGMENT OF PLEA AGREEMENT

       l have read this letter and discussed it with my anomey. The letter accurately presents my
agreement witll the United States Attorney's Office for the District ofMI\SSachusetrs. There are no
unwritten agreement3 between me and the United States Attorney's Office, nnd no United State.~
government official has made any unwritten promises or representations to me in coMection with
my guilty plea. I have received no prior offers to resolve Ibis case.

        I Wlderstaud the crime I am pleading guilty to, and the mnximum penalties for that crime.
I have discussed the Sentencing Guidelines with my lawyer and I underst!llld the sentencing rS1Jges
that may apply.

       l Blll satisfied with the legal representation my lawyer has given me and we h...ve had
enough time to meet and discuss my case. We have discussed the charges against me, possible
defenses 1 might have, the terms of this Agreement and whether I should go to trial.

        I am entering into this Agreement freely and voluntarily and beeausc I am in fact guilty of
the offense charged in Count 11 of the Second Superseding Indictment. J believe tb.is Agreement
is in my best interest.



                                                 Donna Heine!
                                                 Defendant

                                                 Date:




...,,,,,,,,~;, .. _
       I certify that Donna Heine! bas read this Agreement and that we have discussed what it
means. I believe Dr. Heine! understands the Agreement and is entering into it freely, voluntarily,
and knowingly. I also certify that the \J.S. Attoniey has not extended any other offers regording a
                                                    ~ - -,,
                                                 N'   Marino, Esq.
                                                 Jennifer Lieser, Bsq.
                                                 Attorneys for Defendant

                                                 Date:   II · 4. "J-. \


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                          ACKNOWLEDGMENT OF PLEA AGREEMENT

           I have read this letter and discussed it with my attorney. The letter accurately presents my
   agreement with the United States Attorney's Office for the District of Massachusetts. There are no
   unwritten agreements between me and the United States Attorney's Office, and no United States
   government official has made any unwritten promises or representations to me in connection with
   my guilty plea. I have received no prior offers to resolve this case.

          I understand the crime I am pleading guilty to, and the maximum penalties for that crime.
  I have discussed the Sentencing Guidelines with my lawyer and I understand the sentencing ranges
  that may apply.

         I am satisfied with the legal representation my lawyer has given me and we have had
  enough time to meet and discuss my case. We have discussed the charges against me, possible
  defenses I might have, the terms of this Agreement and whether I should go to trial.

         I am entering into this Agreement freely and voluntarily and because I am in fact guilty of
 the offense charged in Count 11 of the Second Superseding Indictment. I believe this Agreement
 is in my best interest.



                                                    D
                                                    (jf(!!!)
                                                    Defendant      /   , /
                                                    Date:       /Ij_f"j /.r/
                                                                 I     I
       I certify that Donna Heine! has read this Agreement and that we have discussed what it
means. I believe Dr. Heine! understands the Agreement and is entering into it freely voluntarily
and knowingly. I also certify that the U.S. Attorney has not extended any other offer~ regarding~
change of plea in this case.


                                                   Nina Marino, Esq.
                                                   Jennifer Lieser, Esq.
                                                   Attorneys for Defendant

                                                   Date:




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